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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
____________________________________
DIANA BERNARDO                       :
                                     :    CIVIL ACTION
            Plaintiff,               :
      v.                             :    DOCKET NO.:
                                     :
RENAULT FBS, LLC; VIVAMEE            :
HOSPITALITY; ACCOUNTABLE             :
EQUITY, LLC; RENAULT WINERY          :    JURY TRIAL DEMANDED
RESORT & GOLF; RENAULT WINERY :
PROPERTIES, LLC; RENAULT             :
WINERY, INC.; RENAULT GOLF, LLC; :
RENAULT GALLOWAY RE, LLC;            :
RENAULT EGG HARBOR TOWNSHIP :
RE, LLC; RENAULT GC HOLDINGS,        :
LLC; RENAULT PROPERTIES, LLC;        :
RENAULT HOLDINGS, LLC                :
                                     :
            Defendants.              :
____________________________________:

                                    CIVIL ACTION COMPLAINT

         Diane Bernardo (hereinafter referred to as “Plaintiff,” unless indicated otherwise), by and

through her undersigned counsel, hereby avers as follows:

                                            INTRODUCTION

         1.      This action has been initiated by Plaintiff against Renault FBS, LLC, Vivamee

Hospitality, Accountable Equity, LLC, Renault Winery Resort & Golf, Renault Winery Properties,

LLC, Renault Winery, Inc., Renault Golf, LLC, Renault Galloway RE, LLC, Renault Egg Harbor

Township RE, LLC, Renault GC Holdings, LLC, Renault Properties, LLC, and Renault Holdings,

LLC (hereinafter collectively referred to as “Defendants”) for violations of the New Jersey

Conscientious Employee Protection Act (“CEPA” – N.J.S.A. §§ 34:19-1, et seq.), the Americans

with Disabilities Act, as amended (“ADA” - 42 USC §§ 12101 et. seq.),1 and the New Jersey Law


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  Plaintiff intends to amend her complaint to include retaliation claims under the ADA once her claims have been
administratively exhausted with the Equal Employment Opportunity Commission (“EEOC”) and the EEOC issues a
right-to-sue letter.
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Against Discrimination (“NJ LAD”). Plaintiff asserts she was terminated from her employment

with Defendants for retaliatory reasons. As a direct consequence of Defendants’ unlawful actions,

Plaintiff seeks damages as set forth herein.

                                 JURISDICTION AND VENUE

       2.      Plaintiff resides in and is a citizen of Pennsylvania.

       3.      Renault FBS, LLC, Vivamee Hospitality, Accountable Equity, LLC, Renault

Winery Resort & Golf, Renault Winery Properties, LLC, Renault Winery, Inc., Renault Golf, LLC,

Renault Galloway RE, LLC, Renault Egg Harbor Township RE, LLC, Renault GC Holdings, LLC,

Renault Properties, LLC, and Renault Holdings, LLC are incorporated under the laws of New

Jersey with headquarters and/or principal places of business in same, rendering them citizens of

New Jersey.

       4.      The United States District Court for the District of New Jersey has original subject

matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 because there is complete diversity

of citizenship, as Plaintiff is a citizen of Pennsylvania, Defendants are citizens of New Jersey, and

the amount in controversy exceeds $75,000.

       5.      This Court may properly maintain personal jurisdiction over Defendants because

Defendants’ contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction in order to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in Int’l Shoe Co. v.

Washington, 326 U.S. 310 (1945), and its progeny.

       6.      Venue is properly laid in this District pursuant to 28 U.S.C. sections 1391(b)(1) and

(b)(2), because Plaintiff worked for Defendants in New Jersey, all actions underlying this case

occurred in New Jersey, and because Defendants’ principal places of business are in New Jersey.




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                                           PARTIES

        7.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        8.    Plaintiff is an adult individual with an address of 1702 S. 5th Avenue, Lebanon,

Pennsylvania 17042.

        9.    Upon information and belief, Renault FBS, LLC, Vivamee Hospitality,

Accountable Equity, LLC, Renault Winery Resort & Golf, Renault Winery Properties, LLC,

Renault Winery, Inc., Renault Golf, LLC, Renault Galloway RE, LLC, Renault Egg Harbor

Township RE, LLC, Renault GC Holdings, LLC, Renault Properties, LLC, and Renault Holdings,

LLC are registered corporate entities with the New Jersey Department of State.

        10.   Plaintiff was hired directly by Vivamee Hospitality and the Renault Winery Resort

& Golf as a Director of Hospitality Operations. However, Plaintiff received payroll and a W-2

(for taxation purposes) directly from Defendant Renault FBS, LLC, but was functionally and

legally an employee of all Defendants. By way of example only:

              a. Defendants operate as a single enterprise;

              b. Defendants transfer employees and management amongst the different entities
                 and share staff and employees amongst same, doing business under many
                 business names;

              c. Defendants utilize overlapping documents, policies, and information amongst
                 each entity; and

              d. Defendants share employees, resources, have the same owner(s) and high-level
                 management, share financial controls, follow the same directives, use the same
                 employment documents within the enterprise regardless of Defendant, have the
                 same procedures and benefits for the entire enterprise of all Defendants, and
                 merely operate as a single business under the aforesaid different business
                 names.

        11.   Upon information and belief, one of the locations in which Defendants collectively

operate from (and is listed as the address for Plaintiff’s employer on her W-2 form and paystubs)

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is 72 North Bremen Avenue, Egg Harbor City, New Jersey 08215. Plaintiff was hired through and

worked out of this address.

        12.      At all times relevant herein, Defendants acted by and through their agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the Defendants.

                                   FACTUAL BACKGROUND

        13.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        14.      Plaintiff was hired by Defendants on or about February 26, 2020, as the Director of

Hospitality Operations for Defendants’ Renault Winery Resort & Golf facility (including the

onsite “Chateau Renault” Hotel) located at 72 North Bremen Avenue, Egg Harbor City, New

Jersey 08215.

        15.      Upon Plaintiff’s information and belief, Defendants are owned/operated by Josh

McCallen (hereinafter “JM”) and his wife Melanie McCallen (hereinafter “MM”).

        16.      Plaintiff has over 30 years’ experience in the hospitality industries, including but

not limited to opening five hotels, three new buildings, and overseeing the renovations of at least

two buildings.

        17.      Upon Plaintiff’s information and belief, she was hired because of her extensive

experience with branded hotels including those under the Hilton umbrella.               Specifically,

Defendants wanted Plaintiff to model their properties under the Vivamee Hospitality brand,

starting with the Renault Winery (hereinafter “the Winery”) and Chateau Renault Hotel

(hereinafter “the Hotel”), after Hilton “gold standards and procedures,” under the direction of JM.

        18.      Shortly after Plaintiff’s hire in February of 2020, as a result of the COVID-19

pandemic, Plaintiff was laid off from her position with Defendants.

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       19.     In or about the third week of April of 2020, Plaintiff returned to work for

Defendants on a part-time basis of 8 hours per week; however, the work that Defendants expected

Plaintiff to perform far exceeded the 8 hours she was permitted to work per week. As a result, she

emailed JM that she needed full-time work with Defendants or she would be required to look for

employment elsewhere.

       20.     On or about May 19, 2020, Plaintiff attended a conference call with JM, MM,

Human Resources (“HR”) Manager, Brian Jones (hereinafter “Jones”) and Vice President & Chief

Operating Officer (“COO”) of Defendant Vivamee Hospitality, Dan Alicea (hereinafter “Alicea”),

wherein Defendants’ management praised Plaintiff for her talents and begged her to stay on-board.

       21.     As a result of the aforesaid May 19, 2020 conference call, Plaintiff was offered her

full-time position back at a reduced salary, plus a sign on bonus of $10,000.00; however, before

accepting Defendants’ employment offer, Plaintiff specifically texted Jones to confirm that if she

was laid-off from employment with Defendants again, she would not be required to repay the

$10,000 sign-on bonus. Jones responded to Plaintiff’s text, confirming that she would only be

required to repay the sign on bonus if she voluntarily left her employment with Defendants.

       22.     Thereafter, Plaintiff agreed to stay on premises at the Winery and Hotel, while

overseeing renovations and the reopening, as she lived out of state and several hours away.

However, when Plaintiff arrived at the Hotel on or about May 25, 2020 to be begin working, she

was immediately alarmed at the multitude of local, state, and federal safety and

building/construction regulation violations that Defendants were committing. By way of example,

but not intended to be an exhaustive list, Plaintiff observed the following:

               a. A non-functioning fire alarm system (despite the General Managers assertions

                   to the contrary) and other fire code issues;

               b. No safety locks on hotel room doors, permitting anyone to enter;

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               c. Master keys for all rooms in the hands of maintenance crew;

               d. Padlocks on the front door; and

               e. The Emergency exits were blocked and inaccessible.

       23.     After spending two nights at the hotel and feeling very unsafe being the only

woman on the premises, Plaintiff contacted Alicea on or about May 27, 2020, and questioned the

legality from an insurance perspective of having employees stay onsite before the hotel was open

and compliant with all local, state, and federal building and safety regulations.

       24.     In response to Plaintiff’s aforesaid inquiry of the safety and insurance implications

of having guests at the hotel before it was open (see Paragraph 23, supra), Alicea stated “between

you and me, I don’t think anyone should stay here,” and he did not believe McCallen should have

family members staying there as well because the Hotel “wasn’t ready.”

       25.     Alicea further advised Plaintiff during their May 27, 2020 phone call, “Why don’t

you pick one day a week and work the rest from home. It doesn’t have to be the same day every

week, just make sure [the GM] is here and just come once a week and make sure everyone is doing

what they should be doing.” Thereafter, Plaintiff began to work from home a few days per week

because of her safety concerns.

       26.     On or about June 4, 2020, during a weekly Zoom Leadership Meeting, Alicea and

McCallan called Plaintiff a “Rockstar,” as a result of work that she was accomplishing with the

Hotel renovations and branding.

       27.     As Plaintiff continued to monitor and direct the Hotel renovations; however, she

began to observe what she believed to be several violations of the Americans with Disabilities Act

(“ADA”) accessibility standards, as well as discriminatory public accommodation practices under

the NJ LAD.




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       28.     What Plaintiff was experiencing was highly disturbing (with respect to legality,

safety, and ADA accessibility for guests). Because of Plaintiff’s extensive experience in the field,

she was aware that all newly designed and constructed or altered public accommodations and

commercial facilities need to be readily accessible to and usable by individuals with disabilities,

pursuant to Title III of the ADA, which includes the 2010 Standards for Accessible Design

(hereinafter the “ADA Standards”) and the 2004 ADA Guidelines for Accessible Design

(“ADAAG”) (28 C.F.R. § 36.101 et seq.).

       29.     Because Defendants renovated 100% of their guest rooms, complete and total

renovations, down to “bare bones,” Plaintiff knew that the amount of ADA accessibility design

accommodations was significant, and the regulations were not being followed.

       30.     Plaintiff reached out to Defendants’ management, including but not limited to JM,

MM, and Alicea, on several occasions throughout her tenure with Defendants via email and during

weekly Zoom meetings to express her concerns that Defendants were engaging in federal ADA

accessibility regulation violations, and they needed to be addressed prior to the projected Hotel

opening date of June 29, 2020. By way of example, but not intended to be an exhaustive list,

Plaintiff identified the following “punch list” of items that were in violation of the ADA

accessibility regulations in Defendants’ purported ADA designated rooms:

               a. Peepholes not at ADA designated eye levels or none at all;

               b. Safety latches not at ADA accessibility levels;

               c. Missing grab bars in bathrooms;

               d. Contained closed bed frames instead of open bed frames required for ADA
                  accessibility;

               e. Improper toilet seat height;

               f. No wheelchair accessible or roll-in showers;

               g. No mechanical lift in place at the pools;
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                  h. Cabinets in kitchen suites not at ADA accessibility heights;

                  i. Kitchen island not at ADA accessibility heights;

                  j. Not enough clearance around the beds in ADA designated rooms;

                  k. No ADA wands for blinds/draperies;

                  l. Bathroom sinks did not have open clearance underneath and/or pipes under
                     sinks were not insulated;

                  m. There were zero hearing impaired rooms in the Hotel and there was no TTY at
                     the front desk as required under the ADA for guests with hearing disabilities;

                  n. The rooms were not evenly distributed among room types (no ADA accessible
                     queen rooms; no ADA accessible bridal suites);

                  o. ADA compliant Braille room signage had not been ordered yet, and no Braille
                     signage had been in place when there were guests staying in the hotel; and

                  p. No ADA exit or other signage. Specifically, a representative from the sign
                     company informed Plaintiff that Alicea and JM did not want ADA signage
                     because it “ruined the aesthetic.” Defendants’ management explicitly advised
                     Plaintiff to order signage that was not ADA complaint for the ballrooms, thus
                     requiring Plaintiff to violate ADA regulations.2

         31.      In addition to the aforesaid ADA accessibility regulation violations, Plaintiff

opposed other illegal practices of Defendants and/or expressed concerns of such legality in matters

as follows:

                  a. Very serious Occupational Safety and Health Administration (“OSHA”)/
                     Department of Labor (“DOL”) violations, such as no fire panel at the front desk
                     – upon Plaintiff’s information, belief, and prior experience, the fire panel should
                     be visible to front desk Hotel agents; however, in this instance the panel was
                     located some several hundred feet away and not visible by the front desk agents.
                     Defendants’ General Manager informed Plaintiff that they had “gotten a quote
                     for an upgrade but it was too much money.” When Plaintiff asked Alicea if the
                     Fire Marshall had signed off on the panel, her concerns were dismissed;

                  b. Defendants had no Safety Data Sheet (“SDS”) Book or Hazard
                     Communication, which upon Plaintiff’s information, belief, and experience is
                     an OSHA safety regulation violation;


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 Upon Plaintiff’s information and belief, after her termination, Defendants later agreed to the signage after a lawsuit
was filed against them for having a website that was not complaint with the ADA.
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               c. Flammables were not kept in a proper flammable cabinet, and chemicals were
                  not kept in properly labeled bottles. Upon Plaintiff’s information, belief, and
                  experience, an SDS is required for every chemical used on the property.
                  Plaintiff instructed Defendants to get the SDS directly from the vendor they
                  purchased the chemicals from and have someone on property maintain the
                  book, but her concerns were ignored;

               d. The areas around the electrical panels were not kept clear;

               e. Construction crew members were cooking in the rooms and in the small room
                  off the Hotel balcony which had no ventilation. When Plaintiff reported this as
                  a fire safety issue to MM she flippantly told Plaintiff she “appreciated their
                  [construction crew members] resourcefulness” but ignored her concerns;

               f. Construction workers were not wearing masks while working during the
                  COVID-19 pandemic. Plaintiff contacted the local permit office, determined
                  that they were required, and informed the workers they needed to wear masks.
                  Another employee then told Plaintiff not to speak to the construction crew, that
                  Alicea said he would take care of it, and that Defendants were “doing a lot of
                  illegal stuff” and did not have all of the required permits for the work; and

               g. Personal Protective Equipment (“PPE”) was not available to staff during
                  construction (i.e. goggles, masks for dust inhalation, etc.) nor was it available
                  on an everyday basis and construction workers were not wearing PPE (i.e. hard
                  hats, masks, etc.).

       32.     Despite complaining to Defendants’ owners and management on multiple

occasions about the aforesaid ADA accessibility, health, safety, building code regulations,

discriminatory public accommodation practices under state law, and concerns of illegality for

several months, Defendants’ owners and management disregarded her concerns, expected her to

go along with or turn a blind eye to their illegal practices (discussed supra) or cavalierly dismissed

the acknowledged illegality of their actions, stating “we don’t need to be inspected because we

were never technically closed,” and “no one ADA will be coming through here to inspect things.”

       33.     Following Plaintiff’s complaints of/objections to the aforesaid illegal practices of

Defendants, she experienced very negative and/or hostile treatment from JM, including being

subjected unfounded concerns about her performance and leadership capabilities.




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       34.     Plaintiff was then terminated on or about June 17, 2020, by Jones who informed

Plaintiff that: (1) JM wanted to “part ways”; (2) her position was being eliminated; and (3) JM felt

she “showed lack of leadership.”

       35.     While working for Defendants, Plaintiff came to realize that Defendants operated their

business unlawfully on a sustained and continued basis. Such information came to Plaintiff through

her own research, her own observations, directives she was given, and through interactions with

coworkers and management.

       36.     Defendants engaged in numerous local, state and federal violations of regulations

and crimes (directly, by way of conspiracy, and through acquiescence and/or ratification of such

known unlawful conduct). Solely by way of notice herein and by way of examples (in a non-

exhaustive list), such legal violations included but were not limited to:

               a. Violations of the Americans with Disabilities Act (“ADA”) Standards for
                  Accessible Design (28 C.F.R. § 36.101 et seq.);

               b. Occupational Health and Safety Administration (“OSHA”)/Department of

                   Labor (“DOL”) violations;

               c. The New Jersey Law Against Discrimination (NJ LAD);

               d. The New Jersey Hotel and Multiple Dwelling Law (N.J.S.A. § 55:13A-1 et
                  seq.);

               e. The New Jersey Uniform Construction Code (N.J.A.C. § 5:23-1.1 et seq.); and

               f. Many other local, state and federal construction, building code, safety, and
                  permit regulations.

       37.     Plaintiff merely provides examples supra of factual and legal violations of

regulations and laws, as much of what Plaintiff was required and directed to do during her

employment was illegal and/or criminal. See, e.g., Durst v. FedEx Exp., No. 03–CV–5186 (JBS),

2005 WL 3534179, at *5 (D.N.J. 2005) (a plaintiff asserting a CEPA claim is not even required to



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cite to any laws for his or her reasonable belief of a legal violation during litigation; but rather, to

set forth a communicated belief of something that was believed to be unlawful).3

        38.      Plaintiff was terminated shortly after making numerous complaints to Defendants’

owners/management illegal violations of several regulations and laws (as set forth supra), for what

she reasonably believes to be pretextual reasons. In actuality, Plaintiff was terminated specifically

because of her opposition to illegal practices of Defendants, her refusal to commit unlawful acts,

and in retaliation for advocating, aiding, or encouraging individuals with disabilities in the exercise

of their rights under the NJ LAD.

                                          COUNT I
        Violations of the New Jersey Conscientious Employee Protection Act (“CEPA”)
                             (Wrongful Termination - Retaliation)
                                   -Against All Defendants-

        39.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        40.      Plaintiff was terminated for several instances of engaging in protected activity by

making complaints and/or for objecting to unlawful actions in the workplace as outlined in

significant detail in this Complaint.

        41.      These actions as aforesaid constitute violations of CEPA.

                                           COUNT II
              Violations of the New Jersey Law Against Discrimination (“NJ LAD”)
                                 (Wrongful Termination - Retaliation)
                                     -Against All Defendants-

        42.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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 New Jersey's CEPA statute “has been described as the most far reaching ‘whistleblowing statute’ in the nation.”
Bowen v. Parking Auth. of City of Camden, No. CIV. 00-5765 (JBS), 2003 WL 22145814, at *16 (D.N.J. 2003).

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        43.     Throughout Plaintiff’s tenure with Defendants she observed what she believed to

be several violations of state and federal accessibility and public accommodation regulations for

individuals with disabilities (discussed supra).

        44.     Pursuant to the NJ LAD, it is unlawful for “for any owner . . . proprietor, manager,

or . . . employee of any place of public accommodation directly or indirectly to refuse, withhold

from or deny to any person any of the accommodations, advantages, facilities or privileges thereof,

or to discriminate against any person in the furnishing thereof, on account of … disability.” N.J.

Stat. § 10:5-12 (f)(1).

        45.     Plaintiff reached out to Defendants’ management, on several occasions throughout

her tenure with Defendants via email and during weekly Zoom meetings to express her concerns

that Defendants were engaging in federal and state accessibility regulation violations, and refusing

to provide the required state and federal public accommodations for individuals with disabilities.

        46.     Despite complaining to Defendants’ owners and management on multiple

occasions about the aforesaid accessibility and public accommodation violations and concerns of

illegality for several months, Defendants’ owners and management disregarded her concerns,

expected her to go along with or turn a blind eye to their illegal practices or simply dismissed the

acknowledged illegality of their actions, stating “we don’t need to be inspected because we were

never technically closed,” and “no one ADA will be coming through here to inspect things.”

        47.     Instead, Plaintiff was abruptly terminated for pretextual reasons on or about June

17, 2020, just one week after her most recent email complaint to Defendants’ owners and

management regarding their refusal to provide the required state and federal public

accommodations for individuals with disabilities.

        48.     Plaintiff believes and therefore avers that she was terminated from her employment

with Defendants for protected activity – “aid[ing] or encourag[ing]” individuals with disabilities

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“in the exercise or enjoyment of, [their] right[s] granted or protected” under the NJ LAD (i.e.

accessibility to public accommodations and commercial facilities). See N.J. Stat. § 10:5-12(d).

        49.      These actions constitute unlawful retaliation under the NJ LAD.

                                           COUNT III
              Violations of the New Jersey Law Against Discrimination (“NJ LAD”)
                                  (Post-Termination Retaliation)
                                     -Against All Defendants-

        50.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        51.      On or about May 19, 2020, Plaintiff was offered her full-time position back (after

a brief lay-off due to the COVID-19 pandemic) at a reduced salary, plus a sign on bonus of

$10,000.00; however, before accepting Defendants’ employment offer, Plaintiff specifically texted

Jones to confirm that if she was laid-off from employment with Defendants again, she would not

be required to repay the $10,000 sign-on bonus. Jones responded to Plaintiff’s text, confirming

that she would only be required to repay the sign on bonus if she voluntarily left her employment

with Defendants.

        52.      Plaintiff was abruptly terminated from her employment with Defendants on or

about June 17, 2020, as a result of her numerous complaints to Defendants’ owners/management

regarding illegal violations of several regulations and laws, including those for the protection of

individuals with disabilities, and “having aided or encouraged” individuals with disabilities “in the

exercise or enjoyment of, [their] right[s] granted or protected” by the NJ LAD.       See N.J. Stat. §

10:5-12(d).

        53.      Over one month following her termination, Plaintiff received a letter from

Defendants seeking repayment of her sign-on bonus for the “unamortized amount of $5,549.42”

with the threat of legal action to enforce same – despite the fact that Jones had informed Plaintiff



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via text that Defendants would only demand repayment of the sign-on bonus if she voluntarily left

her employment with Defendants.

         54.      Defendants sought repayment of Plaintiff’s sign-on bonus after she made several

complaints of Defendants’ illegal practices and violations of several regulations and laws,

including those for the protection of individuals with disabilities and having advocated for same

in the exercise or enjoyment of their rights as provided under the NJ LAD (i.e. accessibility to

public accommodations and commercial facilities).

         55.      These actions as aforesaid constitute unlawful retaliation under the NJ LAD.4

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

         A.       Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay increases,

bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

         B.       Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendants for their

willful, deliberate, malicious and outrageous conduct and to deter Defendants or other employers

from engaging in such misconduct in the future;

         C.       Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress/pain and

suffering);




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 Roa v. Roa, 985 A.2d 1225, 1228 (2010) (holding that under the NJ LAD, a discrete post-discharge act of retaliation
is independently actionable even if it does not relate to present or future employment, and evidence relating to barred
claims       may        be      admissible          in       the        trial    of      the      timely        claim.)


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       D.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       E.      Plaintiff is to be given a trial by jury.

                                                           Respectfully submitted,

                                                           KARPF, KARPF & CERUTTI, P.C.


                                                By:
                                                           Ari R. Karpf, Esq.
                                                           3331 Street Road
                                                           Two Greenwood Square, Suite 128
                                                           Bensalem, PA 19020
                                                           (215) 639-0801

Dated: August 25, 2020




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